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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                             __________  District of
                                                                  of __________
                                                                     Texas


    Vega Capital London Limited and Adrian Spires              )
                             Plaintiff                         )
                                v.                             )      Case No.     Misc. Case No. 4:24-mc-1163
                ExxonMobil Oil Corporation                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          ExxonMobil Oil Corporation                                                                                   .


Date:          08/01/2024                                                               /s/ William K. Grubb
                                                                                             Attorney’s signature


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